




NO. 4-96-0875



IN THE APPELLATE COURT



OF ILLINOIS



FOURTH DISTRICT



THE PEOPLE OF THE STATE OF ILLINOIS,	)	Appeal from

Plaintiff-Appellee,			)	Circuit Court of

v.						)	Champaign County

TYREE A. WHITE,					)	No. 96CF780

Defendant-Appellant.		)

)	Honorable

)	John R. DeLaMar,

)	Judge Presiding.

_________________________________________________________________







JUSTICE COOK delivered the opinion of the court:



Defendant Tyree White was accused of attempt (first degree murder) and aggra­vat­ed battery with a firearm in connec­tion with a shooting incident that occurred on June 29, 1996. &nbsp;720 ILCS 5/9-1(a), 12-4.2(a) (West 1996). &nbsp;Defen­dant was acquit­ted of at­tempt, but con­vict­ed of aggra­vated battery with a firearm, and sentenced to eight years' impris­onment. &nbsp;On appeal, defen­dant con­tends he was acting in self-defense and not proved guilty beyond a reason­able doubt. &nbsp;We affirm.

On the evening of June 28, 1996, defendant and the victim, Ernest Harvey, were at a warehouse dance party in Cham­paign, Illinois. &nbsp;For three years prior to that evening, defen­dant and Harvey had a troubled relationship stem­ming from a 1993 fight and stab­bing inci­dent involving Harvey and members of his family against defen­dant and some of his friends. &nbsp;Defendant testified that Harvey had threatened to kill him on several

occasions since the 1993 fight. &nbsp;Defendant had mentioned the threats to his probation officer and requested that he be trans­ferred out of state so he could avoid the situa­tion. &nbsp;Defendant's probation officer, Brad Parks, testified that defen­dant had requested to move to two different places.

At the party, defendant approached Harvey and attempted to make peace with him. &nbsp;Harvey testified that he told defen­dant he had nothing to say to him and walked away from defendant. &nbsp;Defendant testified that Harvey threatened to kill him again. &nbsp;Defendant left the party before Harvey and went and purchased a .12 gauge shotgun later that night. &nbsp;&nbsp;&nbsp;&nbsp;		

About 3 o'clock the next morning, defendant returned home to 1523 Hedge Road, where he was living with Jacklyn Grif­fin, Leetisha Andrews, his girlfriend, and her mother. &nbsp;Twila Moore and Mark Smith were also present when he arrived. &nbsp;Harvey lived right across the street at 1526 Hedge Road, with Maurice Howard and his younger brother, Antonio Howard. &nbsp;When defendant first arrived home, he noticed Harvey's car across the street. &nbsp;Shortly there­after, the car left. &nbsp;Assuming Harvey had left, defendant decided to go and speak with Harvey's room­mate, Maurice Howard, to ask him about helping him resolve things with Harvey. &nbsp;Defen­dant testified that he took his shotgun with him and placed it by a car in the driveway next door in case Harvey returned and tried to carry out his earlier threat. &nbsp;Defendant pumped a live round into the shotgun so that it was ready to fire when he placed it on the ground.

Around 4 a.m., defendant knocked at the door at 1526 Hedge and Harvey's girlfriend, Okiema Coleman, opened the door. &nbsp;Defendant asked to speak with Maurice Howard. &nbsp;Maurice Howard came out and had a conversation with defendant in the front yard. &nbsp;Howard assured defendant that he was going to help settle things between defendant and Harvey. &nbsp;As the two spoke, Maurice's brother, Antonio Howard, drove up and joined in the conversation. &nbsp;		Meanwhile, Harvey was inside the house. &nbsp;Harvey testi­fied that he decided to come outside and join the conversa­tion and brought a pistol with him for protec­tion, which he concealed in his pocket. &nbsp;Harvey began yelling at defendant, but defendant did not yell in return. &nbsp;Defendant pleaded with Harvey to resolve the situa­tion and repeatedly asked Harvey to "leave it alone." &nbsp;Harvey kept repeat­ing, "It's not over till I say it's over."

At this point, testimony varies as to what happened. &nbsp;Defendant testified that Maurice and Antonio began walking back toward their house, followed by Harvey. &nbsp;Defendant also started walking back to his home, but he remembered he left his shotgun in the driveway next door, so he headed there to retrieve it. &nbsp;Defen­dant testified that when he looked back, he saw Harvey stand­ing right under the porch light with a black .380 gun aimed at him. &nbsp;Defendant heard a "click" coming from Harvey's direc­tion, as he started to bend over to grab his shotgun. &nbsp;Defen­dant claims that Harvey shot first and then defendant shot toward the bush where Harvey was standing and heard him cry. &nbsp;Harvey was shot in the head and face with buckshot, causing him to be permanently blind in one eye. &nbsp;Defendant then ran from the scene of the incident and dropped the shotgun. &nbsp;

Two eyewitnesses also claim that Harvey shot first. &nbsp;Twila Moore and Mark Smith testified that they were standing across the street in the driveway at 1523 Hedge. &nbsp;Smith testified &nbsp;he could see Harvey under the porch light, but could not really see defendant. &nbsp;He stated that "it ap­peared that [Harvey] shot first." &nbsp;Moore testified that she saw Harvey duck behind a bush and shoot at defendant, and then defendant shot back.

Harvey testified that he took his gun from his pocket when he noticed that defendant had a gun. &nbsp;He admitted that he shot his gun at defendant but that the shots were fired at the same time. &nbsp;Maurice and Antonio Howard also testified that the shots were simultaneous. &nbsp;Maurice testified that defen­dant had picked some­thing up and put it behind his back. &nbsp;Think­ing it was a gun, he decided to enter the house, followed by his brother, Antonio. &nbsp;Maurice and Antonio were already in the house when they heard a click like someone was loading a gun, and then one shot fired. &nbsp;Maurice thought it must have been from a big gun because of the loud noise. &nbsp;Antonio stated they must have shot at the same time because he only heard one shot fired. &nbsp;

For the State to convict defendant of aggravated battery with a &nbsp;firearm, it must prove beyond a reason­able doubt that he intentionally discharged a firearm while committing a battery, causing an injury to another person. &nbsp;720 ILCS 5/12-4.2(a) (West 1996). &nbsp;When a defen­dant raises the ques­tion of reason­able doubt on review, the relevant inquiry is whether, "after view­ing the evidence in the light most favor­able to the prose­cution, 
any
 rational trier of fact could have found the essential ele­ments of the crime beyond a reason­able doubt." 
 
Jackson v. Virginia
, 443 U.S. 307, 319, 61 L. Ed. 560, 573, 99 S. Ct. 2781, 2789 (1979); see also 
People v. Burrows
, 148 Ill. 2d 196, 225, 592 N.E.2d 997, 1009 (1992). &nbsp;

Defendant raises the affirmative defense of self-de­fense. &nbsp;The elements of self-defense are (1) that unlawful force is threatened against a person; (2) that the person threat­ened is not the aggressor; (3) that the danger of harm is immi­nent; and (4) that the use of force was neces­sary. &nbsp;
People v. Alca­zar
, 173 Ill. App. 3d 344, 349, 527 N.E.2d 325, 328 (1988). &nbsp;Once raised, the State has the burden of proving beyond a reasonable doubt that the defen­dant did not act in self-de­fense, in addition to proving the other elements of the offense beyond a reasonable doubt. &nbsp;
People v. Seiber
, 76 Ill. App. 3d 9, 13, 394 N.E.2d 1044, 1048 (1979). &nbsp;The standard of review for this element is the same as for every other element: &nbsp;whether any ratio­nal trier of fact could have found beyond a reasonable doubt that defendant was not acting in self-defense. &nbsp;
People v. Newbern
, 219 Ill. App. 3d 333, 342, 579 N.E.2d 583, 589 (1991). &nbsp;

We note at the outset that there is evidence that defendant, the victim, or both could have been the aggres­sor at the moment of the shooting. &nbsp;We do not believe either's behavior was reason­able or neces­sary, regardless of who actually fired first. &nbsp;This case appears to be a mutual combat situation, where both parties fought willingly upon equal terms. &nbsp;The perfect defense of self-defense is not available in such a situation. &nbsp;

We believe a ratio­nal jury could find beyond a reason­able doubt that defen­dant did not act in self-de­fense, but &nbsp;instigated the entire inci­dent or mutually entered into it. &nbsp;Viewing the inci­dent as a whole, defen­dant was far from blame­less. &nbsp;Defen­dant pur­chased a shotgun that very eve­ning, loaded and pumped it, and brought it with him in the middle of the night to the resi­dence of a person who had been threat­en­ing to kill him for three years. &nbsp;After a heated argu­ment, defendant then went and picked up the shotgun in view of the victim. &nbsp;A defendant may not claim self-defense when the perilous situation he encountered arose from his own aggres­sive conduct. &nbsp;
People v. Gvojic
, 160 Ill. App. 3d 1065, 1070, 513 N.E.2d 1083, 1086 (1987).

In 
People v. Sloan
, 111 Ill. 2d 517, 490 N.E.2d 1260 (1986), the defen­dant went to his ex-girlfriend's house with a shotgun at 2 a.m. &nbsp;He claimed he wanted to see his infant daugh­ter and brought the shotgun only for protection. &nbsp;When defendant pushed his way into the resi­dence, his ex-girlfriend's current boyfriend came at him in the dark. &nbsp;Defendant shot the boyfriend and claimed self-defense. &nbsp;The court rejected the self-defense claim because the defendant had provoked the use of force against himself. &nbsp;
Sloan
, 111 Ill. 2d at 521, 490 N.E.2d at 1262.

Here, the defendant is prevented from claim­ing self-defense for the same reason. &nbsp;A ratio­nal jury could find defendant's conduct was not a reason­able or necessary response to the victim's earlier threats, and, there­fore, he was not justi­fied in shooting the victim. &nbsp;&nbsp;

For the foregoing reasons, the judgment of the trial court is affirmed.

Affirmed.

GARMAN and STEIGMANN, JJ., concur.


